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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

SAMANTHA GUNTER,
    Plaintiff,
                                                            CASE NO.:
v.
                                                            COMPLAINT FOR DAMAGES
WAL-MART STORES EAST, LP,                                   JURY TRIAL DEMANDED
      Defendant.
__________________________________________/

                                         COMPLAINT

       Plaintiff SAMANTHA GUNTER sues Defendant WAL-MART STORES EAST, LP and

states as follows:

                                 GENERAL ALLEGATIONS

       1.      Defendant, WAL-MART STORES EAST, LP (hereinafter “Defendant” or “Wal-

Mart”) is a foreign Corporation engaged in business in the Middle District of Florida, Hillsborough

County, Florida.

       2.      Plaintiff, SAMANTHA GUNTER (hereinafter “Plaintiff” or “Gunter”) is a former

employee of Defendant Wal-Mart who, at all times relevant, worked out of Defendant’s 8220

North Dale Mabry Highway, Tampa, Hillsborough County, Florida location.

       3.      Plaintiff Gunter, at all times relevant, was a resident of Tampa, Hillsborough

County, Florida.

       4.      At all times relevant, Defendant employed more than fifteen (15) regular

employees.

       5.      The amount in controversy exceeds $15,000.00.

       6.      Plaintiff Gunter began working with Defendant in or around 2000.



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        7.     Plaintiff Gunter consistently adequately fulfilled her job responsibilities.

        8.     In or around 2005, Plaintiff Gunter suffered a brain aneurism and has suffered

episodes periodically since then because of said brain aneurism.

        9.     Plaintiff Gunter’s brain aneurism is a medically diagnoses condition that

substantially limits and continues to limit one or more of her major life activities.

        10.    Plaintiff Gunter is a disabled individual.

        11.    Plaintiff Gunter has a history of said disabilities and, at all times relevant, was

regarded as having said disabilities by Defendant.

        12.    At all times Plaintiff Gunter kept Defendant up-to-date on her medical condition.

Defendant knew that Plaintiff Gunter’s medical condition was serious and knew that it created a

disability.

        13.    Plaintiff Gunter always adequately fulfilled her job responsibilities.

        14.    Shortly after Plaintiff Gunter became a disabled person due to her brain aneurism,

Plaintiff Gunter applied for and was awarded Intermittent FMLA.

        15.    Plaintiff Gunter had consistently used Intermittent FMLA since her original

application when Plaintiff Gunter became disabled.

        16.    Plaintiff Gunter had also been given a hard time, discriminated against and harassed

because of Plaintiff Gunter’s disability and her need for Intermittent FMLA and her use of

Intermittent FMLA.

        17.    Plaintiff Gunter was treated differently than her non-disabled, non-FMLA-taking

co-workers.

        18.    Plaintiff Gunter was often told by her superiors that she was only still employed

because of her “excused” FMLA use.



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       19.     It was clear to Plaintiff Gunter that Defendant wanted to terminate Plaintiff Gunter

for any reason possible.

       20.     In or around April of 2018, Plaintiff Gunter was experiencing an aneurism episode

and was forced to utilize two (2) days of Intermittent FMLA.

       21.     Defendant later told Plaintiff Gunter that she had inadvertently pressed the wrong

button when calling in her request for the FMLA days.

       22.     Plaintiff Gunter explained that the wrong button had been pressed and had medical

records showing the reason for her missing the two (2) days of work but Defendant used this

opportunity to terminate Plaintiffs Gunter’s employment.

       23.     Other non-disabled, non-FMLA-utilizing co-workers were not terminated for

inadvertently pressing the wrong button when calling into Defendant’s system.

       24.     Plaintiff Gunter was discriminatorily and retaliatorily terminated for utilizing

Intermittent FMLA and for having a disability.

       25.     Plaintiff Gunter was pretextually terminated in or around April of 2018.

       26.     The above discriminatory and retaliatory acts were only a small portion of the

unlawful treatment Defendant subjected Plaintiff Gunter to.

                                           COUNT I
                               Discrimination/Harassment – ADA

       27.     Plaintiff Gunter re-alleges paragraphs 1-26 as if fully alleged herein.

       28.     This action is brought pursuant to the Americans with Disabilities Act, as amended

(hereinafter “ADA”).

       29.     At all times relevant, Defendant employed over fifteen (15) employees and was/is

an employer as defined by the ADA.




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         30.   Plaintiff Gunter suffered a medically diagnosed brain aneurism in or around 2005,

and has ever since had one or more of her major life activities substantially limited.

         31.   Plaintiff Gunter is a disabled person. Plaintiff Gunter has a history of said

disabilities and, at all times relevant, was regarded as having said disabilities by Defendant.

Plaintiff Gunter, at all times relevant, kept the Defendant up-to-date on her medical

conditions/disabilities.

         32.   Defendant, through its agents and/or supervisors, engaged in a pattern and practice

of unlawful discrimination and harassment by subjecting Plaintiff Gunter to disparate treatment

than her non-disabled, non-FMLA-utilizing co-workers based on her disability (brain aneurism)

and her utilization of approved Intermittent FMLA in violation of the ADA.

         33.   The above-described discriminatory conduct adversely affected the terms and

conditions of Plaintiff Gunter’s employment and interfered with Plaintiff Gunter’s emotional well-

being.

         34.   Defendant, at all times relevant hereto, had actual and constructive knowledge of

the conduct described in paragraphs 1-26.

         35.   As a result of the discriminatory and harassing actions perpetrated by Defendant

and maintained by Defendant’s failure to protect Plaintiff Gunter from further discrimination and

harassment, Plaintiff Gunter suffered emotional distress.

         36.   Defendant violated Chapter 760 by failing to adequately supervise, control,

discipline and/or otherwise penalize the conduct, acts and failures to act of their employees and

management as described in paragraphs 1-26.




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       37.     Defendant failed to comply with its statutory duty to take all reasonable and

necessary steps to eliminate discrimination and harassment from the workplace and to prevent it

from occurring in the future.

       38.     Plaintiff Gunter is informed and believes, and based thereon alleges, that in addition

to the practices enumerated above, Defendant has engaged in other discriminatory practices against

her which are not yet fully known.

       39.     Plaintiff Gunter has filed a charge of discrimination with the U.S. Equal

Employment Opportunity Commission (“EEOC”) against Defendant. Over 180 days have passed

since filing. Plaintiff has exhausted her administrative remedies.

       40.     As a direct and proximate result of Defendant’s willful, knowing and intentional

discrimination and harassment against her, Plaintiff Gunter has suffered and will continue to suffer

pain and suffering, mental anguish and emotional distress, and she has suffered and will continue

to suffer a loss of earnings and other employment benefits and job opportunities. Plaintiff Gunter

is thereby entitled to general and compensatory damages in amounts to be proven at trial.

       41.     As a further direct and proximate result of Defendant’s violation of Chapter 760, as

heretofore described, Plaintiff has been compelled to retain the service of counsel in an effort to

enforce the terms and conditions of the employment relationship with Defendant, and has thereby

incurred, and will continue to incur, legal fees and costs, the full nature and extent of which are

presently unknown to Plaintiff Gunter.

       42.     Plaintiff Gunter is informed and believes, and based thereon alleges, that the

outrageous conduct of Defendant described above was done with oppression and malice, with a

conscious disregard for her rights and with the intent, design and purpose of injuring her. Plaintiff

Gunter is further informed and believes that Defendant, through its officers, managing agents



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and/or supervisors, authorized, condoned and/or ratified the unlawful conduct of its employees

and managers.

       43.      Plaintiff Gunter demands trial by jury on all issues so triable.

       WHEREFORE, Plaintiff Gunter prays this Court award judgment in her favor against

Defendant for compensatory damages including back pay, front pay (or reinstatement), punitive

damages and damages for emotional distress, pain and suffering and mental anguish, pre- and post-

judgment interest, attorneys’ fees and costs and such other relief as this Court deems proper.

                                            COUNT II
                               Discrimination/Harassment – Title VII

       44.      Plaintiff Gunter re-alleges paragraphs 1-26 as if fully alleged herein.

       45.      This action is brought pursuant to Title VII of the Civil Rights Act of 1964, as

amended (“Title VII”).

       46.      At all times relevant, Defendant employed over fifteen (15) employees.

       47.      Defendant, through its agents and/or supervisors, engaged in a pattern and practice

of unlawful discrimination and harassment by subjecting Plaintiff Gunter to repeated harassment

and disparate treatment based on her disabilities and her utilization of Intermittent FMLA in

violation of Title VII.

       48.      The above-described discriminatory and harassing conduct adversely affected the

terms and conditions of Plaintiff Gunter’s employment and interfered with Plaintiff Gunter’s

emotional well-being.

       49.      Defendant, at all times relevant hereto, had actual and constructive knowledge of

the conduct described in paragraphs 1-26




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       50.     As a result of the discriminatory actions perpetrated by Defendant and maintained

by Defendant’s failure to protect Plaintiff Gunter from further discrimination, Plaintiff Gunter

suffered emotional distress.

       51.     Defendant violated Title VII by failing to adequately supervise, control, discipline

and/or otherwise penalize the conduct, acts and failures to act of their employees and management

as described in paragraphs 1-26

       52.     Defendant failed to comply with its statutory duty to take all reasonable and

necessary steps to eliminate discrimination and harassment from the workplace and to prevent it

from occurring in the future.

       53.     Plaintiff Gunter is informed and believes, and based thereon alleges, that in addition

to the practices enumerated above, Defendant has engaged in other discriminatory and harassing

practices against her which are not yet fully known.

       54.     Plaintiff Gunter has filed a charge of discrimination with the U.S. Equal

Employment Opportunity Commission (“EEOC”) against Defendant. Over 180 days have passed

since filing. Plaintiff Gunter has exhausted her administrative remedies.

       55.     As a direct and proximate result of Defendant’s willful, knowing and intentional

discrimination and harassment against her, Plaintiff Gunter has suffered and will continue to suffer

pain and suffering, mental anguish and emotional distress, and she has suffered and will continue

to suffer a loss of earnings and other employment benefits and job opportunities. Plaintiff Gunter

is thereby entitled to general and compensatory damages in amounts to be proven at trial.

       56.     As a further direct and proximate result of Defendant’s violation of Title VII, as

heretofore described, Plaintiff has been compelled to retain the service of counsel in an effort to

enforce the terms and conditions of the employment relationship with Defendant, and has thereby



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incurred, and will continue to incur, legal fees and costs, the full nature and extent of which are

presently unknown to Plaintiff Gunter.

       57.      Plaintiff Gunter is informed and believes, and based thereon alleges, that the

outrageous conduct of Defendant described above was done with oppression and malice, with a

conscious disregard for her rights and with the intent, design and purpose of injuring her. Plaintiff

Gunter is further informed and believes that Defendant, through its officers, managing agents

and/or supervisors, authorized, condoned and/or ratified the unlawful conduct of its employees

and managers.

       58.      Plaintiff Gunter demands trial by jury on all issues so triable.

       WHEREFORE, Plaintiff Gunter prays this Court award judgment in her favor against

Defendant for compensatory damages including back pay, front pay (or reinstatement), punitive

damages and damages for emotional distress, pain and suffering and mental anguish, pre- and post-

judgment interest, attorneys’ fees and costs and such other relief as this Court deems proper.

                                          COUNT III
                                        FMLA – Retaliation

       59.      Plaintiff Gunter realleges paragraphs 1-26 as if fully alleged herein.

       60.      This action is being brought pursuant to the Family Medical Leave Act (“FMLA”).

       61.      At all times relevant, Defendant employed over 50 individuals within a 75-mile

radius of Plaintiff’s work location.

       62.      Plaintiff Gunter was employed by Defendant for over a year and was otherwise

covered under the FMLA.

       63.      Plaintiff Gunter exercised her right under the FMLA by asking for and by taking

approved Intermittent FMLA leave for her disability.




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       64.     Plaintiff Gunter was treated differently than her non-disabled, non-FMLA-taking

co-workers.

       65.     Plaintiff Gunter was often told by her superiors that she was only still employed

because of her “excused” FMLA use.

       66.     It was clear to Plaintiff Gunter that Defendant wanted to terminate Plaintiff Gunter

for any reason possible.

       67.     In or around April of 2018, Plaintiff Gunter was experiencing an aneurism episode

and was forced to utilize two (2) days of Intermittent FMLA.

       68.     Defendant later told Plaintiff Gunter that she had inadvertently pressed the wrong

button when calling in her request for the FMLA days.

       69.     Plaintiff Gunter explained that the wrong button had been pressed and had medical

records showing the reason for her missing the two (2) days of work but Defendant used this

opportunity to terminate Plaintiff Gunter’s employment.

       70.     Other non-disabled, non-FMLA-utilizing co-workers were not terminated for

inadvertently pressing the wrong button when calling into Defendant’s system.

       71.     Plaintiff Gunter was retaliatorily terminated for utilizing Intermittent FMLA.

       72.     Defendant, at all times relevant hereto, had actual and constructive knowledge of

the conduct described in paragraphs 1-26 and 61-71.

       73.     As a result of the retaliatory actions perpetrated by Defendant and maintained by

Defendant’s failure to protect Plaintiff Gunter from FMLA retaliation, Plaintiff Gunter suffered

emotional distress.

       74.     As a further direct and proximate result of Defendant’s violation of the FMLA, as

heretofore described, Plaintiff has been compelled to retain the service of counsel in an effort to



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enforce the terms and conditions of the employment relationship with Defendant, and has thereby

incurred, and will continue to incur, legal fees and costs, the full nature and extent of which are

presently unknown to Plaintiff Gunter.

       75.      Plaintiff Gunter is informed and believes, and based thereon alleges, that the

outrageous conduct of Defendant described above was done with oppression and malice, with a

conscious disregard for her rights and with the intent, design and purpose of injuring her. Plaintiff

Gunter is further informed and believes that Defendant, through its officers, managing agents

and/or supervisors, authorized, condoned and/or ratified the unlawful conduct of its employees

and managers.

       WHEREFORE, Plaintiff Gunter prays this Court award judgment in her favor against

Defendant for compensatory damages including back pay, front pay (or reinstatement), liquidated

damages and damages for emotional distress, pain and suffering and mental anguish, pre- and post-

judgment interest, attorneys’ fees and costs and such other relief as this Court deems proper.

Dated: April 30, 2019                                 Respectfully Submitted,

                                                      /s/ Kathryn C. Hopkinson
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